Case 23-00243-ELG             Doc 32         Filed 12/07/23 Entered 12/08/23 00:30:07                 Desc Main
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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF COLUMBIA
   PDF FILE WITH AUDIO FILE ATTACHMENT

         2023-00243
         Avant Diagnostics, Inc.



         Case Type :                    bk
         Case Number :                  2023-00243
         Case Title :                   Avant Diagnostics, Inc.

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